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DEBTOR:          WALTER LEROY PEACOCK                                       CASE NUMBER:         20-00154 ELG


                 CASH FLOW STATEMENT - INDIVIDUAL DEBTOR(S)

                                                                                                  Month Reporting:
CASH FLOW SUMMARY (SEE NOTE A)                                                                      December-20
1. Beginning Cash Balance                                                                    $              3,119.66
2. Cash Receipts
       Business Income--Direct                                                                            16,269.38
       Business Income--Payment of Personal Expenses                                                          497.75
       Misc. Income
       Deposit of Cash on Hand                                                                             3,580.88
       Other     Credits/Refunds                                                                              174.63

       Total Cash Receipts                                                                   $            20,522.64

3. Cash Disbursements
       Rent or home mortgage payment                                                         $
       Utilities and Telephone Expenses                                                                       982.60
       Household Expenses                                                                                     788.31
       Food / Groceries                                                                                       713.15
       Insurance payments                                                                                  1,100.19
       Installment payments (including auto)                                                                  995.50
       Transportation (not including car payments)                                                              23.53
       Legal / Professional Fees / U.S. Trustee Fees
       Dining/Food Eaten Outside the Home                                                                     953.91
       Rental property expenses / repairs                                                                     482.71
       Other     Educational Expenses                                                                            7.00
       Other     Clothing/Laundry/Personal Care                                                               503.75
       Other     Entertainment Expenses                                                                       214.60
       Miscellaneous                                                                                          633.16

       Total Cash Disbursements                                                              $             7,398.41

4. Net Cash Flow for Month (Total Cash Receipts
       less Total Cash Disbursements)                                                                     13,124.23
5. Ending Cash Balance                                                                       $            16,243.89

    CALCULATION OF DISBURSEMENTS FOR UNITED STATES TRUSTEE QUARTERLY FEES
Total Disbursements for the Month (from above)                                                             7,398.41
Less: Transfers between bank accounts                                                                                0
Add: Any amounts paid on behalf of the debtor by others
Disbursements for U.S. Trustee Fee Calculation                                                             7,398.41
(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.                 Rev. 2012-06

(1) Current month beginning cash balance should equal the previous month's ending balance.                  PAGE 2
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DEBTOR:           WALTER LEROY PEACOCK
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BANK RECONCILIATIONS
Month ending:                         Dec-20                           Acct #1           Acct #2            Acct #3           Acct #4

Name of Bank:                                                         SunTrust         United Bank

Last four digits of account                                              8061              9659

Purpose of Acct (Personal or Business)                                Business              DIP

Type of account (Checking or Savings)                                 Checking           Checking


Balance per Bank Statement

ADD: Deposits not credited (attach list)                                                     3,580.88

SUBTRACT: Outstanding check (attach list)

Other reconciling items (attach list)

Month end Balance (Must agree with books)                                (8.36)          12,106.88                  0.00              0.00

TOTAL OF ALL ACCOUNTS                                                                                                                 0.00

Note: Attach a copy of the bank statement and bank reconciliation for each account


AMOUNTS OWED TO OTHERS at the end of the Month (post petition)

- Personally (attach list stating who, amount, when due)

- Business (if applicable) (attach list)

TOTAL OWED POST PETITION                                                                          0.00


AMOUNTS OWED TO YOU at the end of the Month (both pre and post petition)


- Personally (attach list stating who, amount, when due)                                          0.00

- Business (if applicable) (attach list)

TOTAL AMOUNT OWED TO YOU                                                                          0.00

                                                                   NARRATIVE
Please provide a brief description of any significant business and legal actions taken by the debtor, its creditors, or the court
during the reporting period, any unusual or non-recurring transactions that are reported in the cash flow statement and any
significant changes in the financial condition of the debtor which have occurred subsequent to the report date.


The SunTrust account, pre-petition and until the DIP account was established, was used for the payment of both business

and personal expenses. This stopped shortly after the DIP account was opened, and since approximately May 2020, this

account was not used for personal expenses.

Some reoccuring minor charges (personal expenses) are stilll being paid from Suntrust of approximatgely $150.00 or less.
                                                                                                                              Rev. 2012-06
(2) Total of all accounts should equal page 2, line 5 - Ending Cash Balance.                                                        PAGE 3
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DEBTOR:               WALTER LEROY PEACOCK                     CASE NO:       20-00154 ELG

                                      CASH RECEIPTS DETAIL (SEE NOTE A)
                                        For Period:         12/1/2020 to      12/31/2020

                                       (attach additional sheets as necessary)

        Debtor In Possession Account:                                    9002000154

        Date                       Payer                               Description             Amount

       12/30/20       W Peacock III                       Repayment                               1,080.88

       12/31/20       W Peacock III                       Repayment                               2,500.00




                  Total automatic credits for the month which identify source of deposit


                                                          Total Cash Receipts              $      3,580.88 (1)

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
                                                                                                Rev. 2012-06
(1) Total for all accounts should agree with total cash receipts listed on page 2.                PAGE 4
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DEBTOR:          WALTER LEROY PEACOCK                                              CASE NO: 20-00154 SMT

                         CASH DISBURSEMENTS DETAIL (SEE NOTE A)
                             For Period:12/1/2020 to 12/31/2020
                           (attach additional sheets as necessary)

        Debtor In Possession Account:

Date       Check No.      Payee                                Description (Purpose)                             Amount
12/21/2020 ATM w/d        Cash                                 Rental Property Expenses                            103.00




             Total automatic debits for the month which identify who is paid

                                                               Total Cash Disbursements                           $103.00

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
                                                                                                                 Rev 2012-06
(1) Total for all accounts should agree with total cash disbursements listed on page 2.                            PAGE 5
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                          INCOME AND DISBURSEMENTS RECAP

Debtor:                   WALTER LEROY PEACOCK                  Case Number: 20-00154 ELG
Date Case was filed:      3/12/2020

          This form is to be used to record Monthly Operating Reports' Income and Disbursements filed to date.
          It serves as a running total of overall income, expenses and net income (or loss) for the case.

          Year: 2020                                            Year:
             Income         Expenses      Net Inc/ (Loss)          Income         Expenses     Net Inc/ (Loss)


Jan                                                 -                                                      -


Feb                                                 -                                                      -


Mar              933.10        1,250.73         (317.63)                                                   -


Apr           13,760.54        9,857.65        3,902.89                                                    -


May           14,870.90       10,519.62        4,351.28                                                    -


Jun           15,848.85       13,222.16        2,626.69                                                    -


Jul           12,793.66       13,112.27         (318.61)                                                   -


Aug           11,689.28       15,391.53       (3,702.25)                                                   -


Sep           14,282.46       12,326.44        1,956.02                                                    -


Oct           12,437.43       17,716.67       (5,279.24)                                                   -


Nov            9,522.93        9,622.42          (99.49)                                                   -


Dec           20,522.64        7,398.41       13,124.23                                                    -




TOTAL        126,661.79     110,417.90        16,243.89                    -              -                -

                                                                                                    Rev. 2012-06
                                                                                                      PAGE 6
